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     JOHN LI
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Nos. Cr. S 08-389 GEB
                                                              Cr. S 08-390 GEB
12                             Plaintiff,                     Cr. S 08-391 GEB
13             v.                                        STIPULATED MOTION AND [lodged] ORDER
14                                                       TO REDUCE SENTENCE PURSUANT TO 18
     JOHN LI,                                            U.S.C. § 3582(c)(2)
15                             Defendant.                RETROACTIVE DRUGS-MINUS-TWO
16                                                       REDUCTION CASE

17                                                       Judge: Honorable GARLAND E. BURRELL, Jr.

18
               Defendant, JOHN LI by and through his attorney, Assistant Federal Defender David M.
19
     Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant
20   U.S. Attorney Jason Hitt, hereby stipulate as follows:
21             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
22   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
23   based on a sentencing range that has subsequently been lowered by the Sentencing Commission
24   pursuant to 28 U.S.C. § 994(o);
25             2.         On June 24, 2011, this Court sentenced Mr. Li to a term of 102 months
26   imprisonment on Count 3 of Case No. Cr. 08-389, to be served concurrently with Count 2 of
27   Case No. 08-390 and Count 6 of Case No. 08-391, for a total term of 102 months;
28

     Stipulation and Order Re: Sentence Reduction         1
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1              3.         His total offense level was 31, his criminal history category was II, the resulting
2    guideline range was 121 to 151 months, and he received a reduction from the low end of the
3    applicable guideline range on the government’s motion;
4              4.         The sentencing range applicable to Mr. Li was subsequently lowered by the
5    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
6    see 79 Fed. Reg. 44,973;
7              5.         Mr. Li’s total offense level has been reduced from 31 to 29, and his amended
8    guideline range is 97 to 121 months; a reduction comparable to the one received at the initial
9    sentencing would produce a term of 81 months; and,
10             6.         Accordingly, the parties request the Court enter the order lodged herewith
11   reducing Mr. Li’s term of imprisonment to a total term of 81 months.
12   Respectfully submitted,
13   Dated: January 6, 2015                              Dated: January 6, 2015
14   BENJAMIN B. WAGNER                                  HEATHER E. WILLIAMS
     United States Attorney                              Federal Defender
15
16    /s/ Jason Hitt                                     /s/ David M. Porter
     JASON HITT                                          DAVID M. PORTER
17   Assistant U.S. Attorney                             Assistant Federal Defender
18   Attorney for Plaintiff                              Attorney for Defendant
     UNITED STATES OF AMERICA                            JOHN LI
19
20                                                      ORDER
21             This matter came before the Court on the stipulated motion of the defendant for reduction
22   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
23             The parties agree, and the Court finds, that Mr. Li is entitled to the benefit Amendment
24   782, which reduces the total offense level from 31 to 29, resulting in an amended guideline range
25   of 97 to 121 months. A reduction comparable to the one received at the initial sentencing would
26   produce a term of 81 months.
27             IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2011 is
28   reduced to a term of 81 months imprisonment on Count 3 of Case No. Cr. 08-389, to be served

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       Case 2:08-cr-00389-TLN Document 231 Filed 01/08/15 Page 3 of 3


1    concurrently with Count 2 of Case No. 08-390, and Count 6 of Case No. 08-391, for a total term
2    of 81 months.
3              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
4    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
5    reduction in sentence, and shall serve certified copies of the amended judgment on the United
6    States Bureau of Prisons and the United States Probation Office.
7              Unless otherwise ordered, Mr. Li shall report to the United States Probation Office within
8    seventy-two hours after his release.
9    Dated: January 7, 2015
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     Stipulation and Order Re: Sentence Reduction      3
